Appellate Case: 23-3152     Document: 010111100167         Date Filed: 08/26/2024     Page: 1
                                                                                     FILED
                                                                         United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                            Tenth Circuit

                              FOR THE TENTH CIRCUIT                            August 26, 2024
                          _________________________________
                                                                            Christopher M. Wolpert
                                                                                Clerk of Court
  UNITED STATES OF AMERICA,

        Plaintiff - Appellee,

  v.                                                            No. 23-3152
                                                      (D.C. No. 5:21-CR-40110-TC-1)
  JAHBOU RUDOLPH DRAKES,                                         (D. Kan.)

        Defendant - Appellant.
                       _________________________________

                              ORDER AND JUDGMENT *
                          _________________________________

 Before HARTZ, TYMKOVICH, and BACHARACH, Circuit Judges.
                   _________________________________

        Jahbou Drakes appeals his sentence of 60 months’ imprisonment, one year of

 supervised release, and a $100 special assessment for possession of a firearm in a

 school zone in violation of 18 U.S.C. § 922(q)(2)(A). He challenges a number of the

 district court’s determinations at his sentencing. Given the ambiguity of some of

 these determinations, we remand to the district court for re-sentencing.

                                     I. Background

        Drakes was stopped for a traffic infraction in a school zone and arrested on an

 outstanding warrant. During a search incident to arrest, police officers found a gun in his



        *
          This order and judgment is not binding precedent, except under the doctrines
 of law of the case, res judicata, and collateral estoppel. It may be cited, however, for
 its persuasive value consistent with Fed. R. App. P. 32.1 and 10th Cir. R. 32.1.
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 waistband. Officers also found 4 grams of marijuana, 31 grams of fentanyl, 4 grams of

 methamphetamine, a scale, and baggies under the front passenger seat, where another

 occupant was sitting. Drakes’s passenger took responsibility for the drugs, and Drakes

 denied that he knew about them.

       Drakes pleaded guilty to possession of a firearm in a school zone in violation of 18

 U.S.C. § 922(q)(2)(A). As part of that plea, the parties agreed that Drakes owed a special

 assessment of $25 pursuant to 18 U.S.C. § 3013(a)(1), which applies to misdemeanors.

 Although the crime to which Drakes pled guilty carries a statutory maximum 5-year

 prison sentence, it is considered a misdemeanor “for the purpose of any other law” under

 18 U.S.C. § 924(a)(4).

       The probation office prepared a Presentence Report “PSR” in advance of Drakes’s

 sentencing hearing. The PSR set Drakes’s base offense level at 6 under USSG § 2K2.5,

 added two levels pursuant to USSG § 2K2.5(b)(1)(B) because Drakes possessed the

 firearm in a school zone, and subtracted two levels for Drakes’s acceptance of

 responsibility consistent with USSG § 3E1.1(a). The PSR listed 14 prior adult

 convictions spanning some 31 years, including four federal convictions: three for gun

 possession and one for drug possession. The first conviction occurred in 1990, when

 Drakes was 18 years old, and the most recent prior conviction was committed in 2021,

 when Drakes was 50 years old. Drakes’s checkered past resulted in 17 criminal history

 points and a criminal history category of VI. With an offense level of 6 and a criminal

 history category of VI, the PSR set the advisory guidelines range at 12 to 18 months’

 imprisonment. The statutory maximum sentence was 5 years’ imprisonment.

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        Prior to the sentencing hearing, Drakes and the government filed sentencing

 memoranda asking for a 48-month sentence. The purpose of this mutually agreed upward

 variance was to “account[] for Mr. Drake’s [sic] actual criminal history” and to

 “balance[] the value of Mr. Drake’s [sic] guilty plea against the need to achieve the

 applicable statutory goals.” R., Vol. I at 20 (Drakes’s memorandum); see also id. at 26

 (government’s memorandum). The government agreed to dismiss the indictment and not

 file any additional charges against Drakes arising out of the facts forming the basis for

 the indictment.

        The district judge agreed with the Guidelines calculation in the PSR, but varied

 upward and imposed a 5-year sentence, the statutory maximum. The Guidelines

 suggested a 12-to-18 month sentence, the parties asked for an upward variance to 48

 months, and the district judge varied upwards to 60 months. To support the upward

 variance, the district judge noted that: (1) Drakes was prohibited from possessing a

 firearm due to “numerous prior convictions,” (2) he was in possession of fentanyl, (3) he

 had been “under a criminal justice sentence in some form or fashion since he was 19,”

 but had not “successfully completed a term of supervision without a new arrest in more

 than 30 years,” and (4) he had “limited employment history and minimal family support

 and ha[d] struggled with substance abuse most of his adult life.” R., Vol. II, at 49. The

 district judge concluded that the sentence would satisfy the requirements of 18 U.S.C.

 § 3553, including that it would “allow Mr. Drakes the opportunity to receive correctional

 treatment in an effective manner and will assist him with community reintegration,

 consistent with 3553(a)(2)(D).” Id. at 50.

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        Defense counsel raised two objections. First, she objected that the upward

 departure was insufficiently explained, and asked the district court “to make specific

 findings as to why the 48-month sentence isn’t sufficient to achieve the sentencing

 goals.” Id. at 52. Second, she objected to the court’s apparent conclusion that Drakes

 was in possession of fentanyl, noting that the PSR did not support this conclusion. Id.
        In response to the first objection, the district court declined to provide any

 additional explanation but instead stood “on what [the court] previously said.” Id. In

 response to the second objection, the district court stated that the defense counsel’s

 representation was “consistent with what my understanding is. But okay.” Id. The court

 then formally imposed the 60-month sentence, a 1-year term of supervised release, and a

 $100—not $25—special assessment.

        In a written statement of reasons filed after the sentencing hearing, the district

 court left blank the section of the form where it was supposed to “[s]tate the basis for

 [the] variance.” R., Vol. III, at 34. Above this section, the district court checked seven

 boxes as reasons for the variance, including: (1) the nature and circumstances of the

 offense, 18 U.S.C. § 3553(a)(1), specifically dismissed/uncharged conduct; (2) the

 history and characteristics of the defendant, 18 U.S.C. § 3553(a)(1); (3) the need to

 reflect the seriousness of the offense, to promote respect for the law, and to provide just

 punishment for the offense, 18 U.S.C. § 3553(a)(2)(A); (4) the need to deter, 18 U.S.C.

 § 3553(a)(2)(B); (5) the need to protect the public from further crimes, 18 U.S.C.

 § 3553(a)(2)(C); (6) the need to provide the defendant with other correctional treatment



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 in the most effective manner, 18 U.S.C. § 3553(a)(2)(D); and (7) acceptance of

 responsibility. Id.
                                        II. Analysis

        Drakes appeals his sentence. He argues that the district court erred in imposing

 the upward variance since it improperly accounted for his correctional treatment and

 because the court inadequately explained the variance. He also argues that the district

 court erred in imposing a $100 assessment, rather than a $25 assessment. The

 government agrees with this position, and we reverse the district court’s imposition of the

 $100 assessment.

        A. The district court’s consideration of Drakes’s correctional treatment

        Because Drakes did not raise this issue below, we review for plain error. United

 States v. Thornton, 846 F.3d 1110, 1114 (10th Cir. 2017). Under plain-error review,

 Drakes “must show: (1) the district court erred, (2) the error was plain, (3) the error

 prejudiced his substantial rights, and (4) the error seriously affects the fairness, integrity,

 or public reputation of judicial proceedings.” Id.
        The Sentencing Reform Act empowers federal judges to impose three

 punishments: imprisonment, probation, or a fine. It specifies the factors that judges must

 consider when setting the appropriate sentence, a list that includes the “nature and

 circumstances of the offense,” “the history and characteristics of the defendant,” and

 other factors. 18 U.S.C. § 3553(a). Among these factors is “the need for the sentence

 imposed to provide the defendant with needed educational or vocational training, medical


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 care, or other correctional treatment in the most effective manner.” 18 U.S.C.

 § 3553(a)(2)(D). The district court considered this factor when imposing Drakes’s

 sentence. R., Vol. II, at 50.

        In addition to these considerations, “[t]he court . . . in determining the length of

 the [prison] term, shall consider the factors set forth in section 3553(a) to the extent that

 they are applicable, recognizing that imprisonment is not an appropriate means of

 promoting correction and rehabilitation.” 18 U.S.C. § 3582(a) (emphasis added).

        The Supreme Court resolved this apparent contradiction—correction and

 rehabilitation are both required and prohibited—by explaining that the Sentencing

 Reform Act “provides additional guidance about how the considerations listed in

 § 3553(a)(2) pertain to each of the Act’s main sentencing options—imprisonment,

 supervised release, probation, and fines.” Tapia v. United States, 564 U.S. 319, 325–326

 (2011). The clarifying provisions “make clear that a particular purpose may apply

 differently, or even not at all, depending on the kind of sentence under consideration. For

 example, a court may not take account of retribution (the first purpose listed in

 § 3553(a)(2)) when imposing a term of supervised release.” Id. at 326. In a similar vein,

 the Supreme Court interprets § 3582(a) as directing courts to “consider the specified

 rationales of punishment except for rehabilitation” when determining a prison sentence.

 Id. at 327. In other words, “a court may not impose or lengthen a prison sentence to

 enable an offender to complete a treatment program or otherwise to promote

 rehabilitation.” Id. at 335.



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        The district court never stated that it lengthened Drakes’s prison sentence due to

 rehabilitation. Rather, it stated that “[t]he supervised release term, in addition to

 imprisonment, will allow Mr. Drakes the opportunity to receive correctional treatment in

 an effective manner and will assist him with community reintegration, consistent with

 3553(a)(2)(D).” R., Vol. II, at 50. The Sentencing Reform Act does not prohibit courts

 from considering rehabilitation when imposing a sentence of supervised release. It only

 prohibits them from considering rehabilitation when imposing a prison sentence. Here,

 the court stated that the combined effects of supervised release and imprisonment would

 lead to rehabilitation. One could interpret the statement to mean that the district court

 extended Drakes’s prison term to achieve those effects. But a more natural reading of the

 sentence is that the court extended Drakes’s supervised release term to achieve those

 effects. After all, the court made this observation in justifying the supervised release

 term, not the prison sentence. “[W]e are not looking for stray remarks and technical

 errors to set aside sentencing decisions that were certainly Tapia compliant.” United

 States v. Naramor, 726 F.3d 1160, 1171 (10th Cir. 2013).

        Drakes has not shown that the district court committed plain error. A district

 court’s error is plain where “the Supreme Court or this court has addressed the issue or

 where the district court’s interpretation was clearly erroneous.” United States v. Cordery,

 656 F.3d 1103, 1106 (10th Cir. 2011) (internal quotation marks and brackets omitted).

 Neither the Supreme Court nor this court have ever addressed whether a district court

 violates 18 U.S.C. § 3582(a) when it justifies a term of supervised release based on the

 combined effects of incarceration and supervised release on rehabilitation. Unlike in

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 other cases we have reviewed, the district court did not expressly tie the imposition of the

 prison sentence to rehabilitation. See Thornton, 846 F.3d at 1113 (noting that the district

 court imposed a prison sentence in part to ensure that the defendant had enough time in

 prison to get treatment and vocational benefits); United States v. Mendiola, 696 F.3d

 1033, 1042 (10th Cir. 2012) (noting that the district court imposed an upward variance on

 the guideline range for the express purpose of giving the defendant time to participate in

 a drug and alcohol rehabilitation program); and Cordery, 656 F.3d at 1105 (noting that

 the district court justified a prison sentence based in part on the defendant’s ability to

 complete drug and mental health rehabilitation programs).

        Drakes’s view that the district court extended his sentence to account for

 rehabilitation requires a novel reading of § 3582 and our precedents, so it fails under

 plain error review.

        B. The district court’s justification for the variance

        District courts that impose an above-guidelines sentence are required to

 explain their reasoning. 18 U.S.C. § 3553(c)(2); 28 U.S.C. § 994(w)(1)(B). The

 sentencing judge “should set forth enough to satisfy the appellate court that he has

 considered the parties’ arguments and has a reasoned basis for exercising his own

 legal decisionmaking authority.” Rita v. United States, 551 U.S. 338, 356 (2007).

 We have held that to satisfy § 3553(c)(2)’s “verbalization requirement …, a district

 court must describe the salient facts of the individual case, including particular

 features of the defendant or of his crime, and must explain for the record how these


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 facts relate to the § 3553(a) factors.” United States v. Clark, 981 F.3d 1154, 1168

 (10th Cir. 2020) (quotation omitted). “[A] ‘specific’ statement pursuant to

 § 3553(c)(2) must be particularized rather than general and must address the facts of

 the individual case.” United States v. Mendoza, 543 F.3d 1186, 1194 (10th Cir.

 2008). “[A] mere allusion to the statutory factors, without an accompanying

 discussion of their application to the facts at hand, lacks the specificity to satisfy this

 duty.” Id. at 1193.

        The district court explained its rationale for imposing an above-guidelines

 sentence twice, first orally at the hearing and then in a written statement of reasons.

 The written statement of reasons provides little insight into the court’s decision. The

 form contained a checklist of reasons for the variation. The judge checked off

 multiple boxes, including the box for “acceptance of responsibility,” which is a

 mitigating factor in a sentence and therefore does not justify an upward variance.

 The checklist does not convey the “salient facts of the individual case,” Clark, 981

 F.3d at 1168, and the court left blank the section of the form asking it to “state the

 basis for a variance.” R., Vol. III, at 34.

        Nonetheless, a “sentencing court’s failure to submit a statement of reasons

 form will not cause us to vacate the sentence if, given our review of the district

 court’s oral explanation, we believe that the district court would have imposed the

 same sentence had it filed a written statement of reasons form.” United States v.

 Ortiz-Lazaro, 884 F.3d 1259, 1264 (10th Cir. 2018). The same logic applies to a

 district court’s submission of a written statement of reasons with an entry left blank.

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        In this case, however, the district court’s oral explanation for the sentence is

  insufficiently clear to permit us to review the court’s reasoning. First, it is unclear

  from the hearing transcript whether the court intended to impose the upward variance

  due to Drakes’s alleged fentanyl possession. The court initially cited the fentanyl

  possession as an explanation, but later backtracked, perhaps agreeing with defense

  counsel, then, finally, stating that it stood “on what [the court] previously said.” R,

  Vol. II, at 49, 52. The court also mentioned Drakes’s family situation and work

  history as factors for justifying a variance, but the transcript does not make it clear

  whether the court relied on these factors in making the upward variance. Id. at 49.

  The court also mentioned Drakes’s failure to “successfully complete[] a term of

  supervision without a new arrest in more than 30 years.” Id. While the court was

  allowed to impose an upward variance due to Drakes’s criminal history, see 18

  U.S.C. § 3553(a)(1), the court’s oral explanation does not provide a clear enough

  picture of the judge’s decisionmaking to affirm the sentence.

        We therefore remand for resentencing.

        C. The special assessment

        Since Drakes did not object to the imposition of a $100 special assessment at

  sentencing, we review for plain error. Thornton, 846 F.3d at 1114. The parties agree

  that the district court committed plain error by imposing a special assessment of $100

  instead of $25. Drakes pled guilty to an offense under 18 U.S.C. § 922(q). While this

  offense has a maximum term of imprisonment of 5 years, it is treated as a misdemeanor



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  for all other purposes. 18 U.S.C. § 924(a)(4). The special assessment for

  misdemeanors is capped at $25 under 18 U.S.C. § 3013(a)(1).

                                   III. Conclusion

        We vacate the sentence and remand for resentencing.


                                             Entered for the Court


                                             Timothy M. Tymkovich
                                             Circuit Judge




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